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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                         No: 18-2308

                                   David Anthony Stebbins

                                                    Appellant

                                               v.

                                    State of Arkansas, et al.

                                                    Appellees

______________________________________________________________________________

       Appeal from U.S. District Court for the Western District of Arkansas - Harrison
                                   (3:17-cv-03092-TLB)
______________________________________________________________________________

                                         MANDATE

       In accordance with the opinion and judgment of 05/24/2019, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                     June 17, 2019




Clerk, U.S. Court of Appeals, Eighth Circuit




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